
On review of submissions pursuant to section 500.11 of the Rules of the Court of Appeals ( 22 NYCRR 500.11 ), order affirmed, with costs, and certified question answered in the affirmative. Plaintiff failed to establish, as a matter of law, that the "loss was unambiguously excluded from the coverage of [the] policy" ( Pioneer Tower Owners Assn. v. State Farm Fire &amp; Cas. Co., 12 N.Y.3d 302, 307, 880 N.Y.S.2d 885, 908 N.E.2d 875 [2009] ).
Chief Judge DiFiore and Judges Rivera, Stein, Fahey, Garcia, Wilson and Feinman concur.
